Case 2:19-cv-08405-JMV-MF Document 21 Filed 03/20/19 Page 1 of 1 PageID: 981




                         Law Office of Mark A. Kriegel, LLC
                               1479 Pennington Rd.
                                  Ewing, NJ 08618

Mark A. Kriegel                                                Phone: 609-883-5133
Admitted in NJ & NY                                            Fax:    609-450-7237
                                                               E-Mail: mkriegel@kriegellaw.com



March 20, 2019

Via ECF
Hon. John Michael Vazquez, U.S.D.J.
United States District Court
2 Federal Square
Newark, NJ 07102

       Re:             Juul Labs, Inc., et. al. V. Eonsmoke, LLC
       Dkt. No.:       2:19-cv-8405

Dear Judge Vazquez:

         Pursuant to my conversation with your Chambers earlier this morning below please find
dial in access for the out of state attorneys who will be participating in this afternoon’s hearing for
the above case:

       Conference Number: 712-775-7031
       Access Number:     484052328#

       Thank you for your attention to, and consideration of, this matter.


                                                               Respectfully Yours,



                                                               Mark A. Kriegel

cc:    All counsel of record via e-mail and ECF
